* Note from the reporter of decisions: The Court of Criminal Appeals spelled this defendant's name "Jeffrey".
The petition for the writ of certiorari is denied.
In denying the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155
(1973). See also Ex parte Carroll, 852 So.2d 833, 836 (Ala. 2002).
WRIT DENIED. *Page 875 
HOUSTON, SEE, LYONS, BROWN, JOHNSTONE, WOODALL, and STUART, JJ., concur.